EXHIBIT 13
                                          1 OF 1 RECORD(S)

Deed Record For SUFFOLK County




Buyer Information

               Original Name:   40 HEDGES REALTY INC(COMPANY/CORPORATION)

         Standardized Name:     40 HEDGES REALTY INCORPORATED

            Original Address:   1540 BROADWAY 30TH FLR

                                NEW YORK, NY 10036

       Standardized Address:    1540 BROADWAY FL 30

                                NEW YORK, NY 10036-4039

                                NEW YORK COUNTY




Care Of Information

               Original Name:   DEREK FERGUSON BAD BOY ENTERTAINMENT

         Standardized Name:     DEREK FERGUSON BAD BOY ENTERTAINMENT

                                DEREK FERGUSON BAD BOY ENTERTAINMENT

            Original Address:   1540 BROADWAY 30TH FLR

                                NEW YORK, NY 10036

       Standardized Address:    813 PARK AVE

                                NEW YORK, NY 10021-3207

                                NEW YORK COUNTY

Seller Information

               Original Name:   COMBS, SEAN

         Standardized Name:     COMBS, SEAN

           Original Address::   813 PARK AVE

                                NEW YORK, NY 10022

       Standardized Address:    813 PARK AVE

                                NEW YORK, NY 10021-3207
                                                                                           Page 2 of 3
                                                Sean_Combs

Deed Record For SUFFOLK County



                                  NEW YORK COUNTY




 Property Information

    Original Property Address:    40 HEDGES BANK DR

                                  EAST HAMPTON, NY 11937

        Standardized Property     40 HEDGES BANKS DR
                    Address:
                                  EAST HAMPTON, NY 11937-3505

                                  SUFFOLK COUNTY

                 Data Source:     B




 Legal Information

   Assessor's Parcel Number:      0300-035.00-02.00-006.000

              Recording Date:     08/23/2001

                Contract Date:    08/03/2001

                     Deed Type:   BARGAIN AND SALE DEED

                     Book/Page:   12137/476

            Legal Description:    LOT NUMBER: 54; SUBDIVISION: MAP LAND FALL SECTION 2 RECORDER'S MAP;
                                  CITY/MUNI/TWNSP: EAST HAMPTON;




Important: The Public Records and commercially available data sources used on reports have
errors. Data is sometimes entered poorly, processed incorrectly and is generally not free from
defect. This system should not be relied upon as definitively accurate. Before relying on any
data this system supplies, it should be independently verified. For Secretary of State documents,
the following data is for information purposes only and is not an official record. Certified copies
may be obtained from that individual state's Department of State.
Your DPPA Permissible Use: Litigation
Your Secondary DPPA Permissible Use: None
                                                                                     Page 3 of 3
                                           Sean_Combs

Your GLBA Permissible Use: I have no permissible use
Copyright © 2025 LexisNexis, a division of Reed Elsevier Inc. All rights reserved.


 End of Document
